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% A 0 245D                                                     #103
             (Rev. 12107)Judgment in a Criminal Case for Revocations
             Sheet 1

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                                    UNITEDSTATESDISTRICTCOURT
                                                         Southern District of Illinois                                                   - "U


          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                            V.                                          (For Revocation of Probation or Supervised Release)
              JOHNNY RAY BIERMAN

                                                                        Case No, 4:97CR40069-003-JPG
                                                                        USM No. 04 167-025
                                                                          Judith Kuennek, AFPD
                                                                                            Defendant's Attorney
THE DEFENDANT:
4 adrmtted guilt to violation of condition(s)          as alleged below                  of the term of supervision.
    was found in violation of condition(s)                                          after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                             Violation Ended
Statutory                        The defendant illegally possessed a controlled substance &                  0311212008

                                 tested posi*      fofvthdVhe&ine
Special                          The defendant failed to appear for counseling as directed                   02/29/2008


       The defendant is sentenced as provided in pages 2 through             2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has not violated condition(s)                             and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notif the United States attorney for this district withn 30 days of any
                                                        Y
change of name, residence, or mailing address unti all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economc circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9613                      05/0112008
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:          1961

City and State of Defendant's Residence:                                                           Signature of Judge
Marion, IL
                                                                          J. Phil Gilbert                               District Judge
                                                                            r..cI
                                                                                                Name and Title of Judge

                                                                                                P Zd--?6
                                                                                                  I
                                                                                                         Date
                                                                                                                   7
             Case 4:97-cr-40069-JPG                       Document 282 Filed 05/08/08                   Page 2 of 2      Page ID
 A 0 245D      (Rev. 12107). Judgment
                                -                                   #104
                                      in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                                                       Judgment - Page   2   of    2
 DEFENDANT: JOHNNY RAY BIERMAN
 CASE NUMBER: 4:97CR40069-003-JPG

                                                                    IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
12 months




            The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
            17 at                                           a.m.           p.m.    on
            17 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

 I have executed this judgment as follows:




            Defendant delivered on                                                          to

 at                                                      with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                                  BY
                                                                                                 DEPUTY UNITED STATES MARSHAL
